Case 2:04-cr-20048-BBD Document 57 Filed 07/22/05 Page 1 of 2 PagelD 62

lN THE uNlTED sTATEs olsTRlcT couRT w ”42:-- °»°-
FoR THE wEsTERN olsTRlcT oF TENNEssEE _
wEsTERN olvlsloN 05 JUL 22 PH 1\= 06

 

mt us denman
uNlTEo sTATEs oF AMERICA Wm 01»“"§'*“1,;~..1§§»:%5
P|aintiff
vs.
cR. No. 04-20048-0
DERRch THoMPsoN
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with
a mrt date of Thursdav. August 25l 2005. at 9:00 a.m., in Courtroom 3 9th Floor of

 

the Federal Bui|ding, Memphis, TN.

The period from August12, 2005 through September16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

ir ls so oRoERED this 035 day of July, 2005.

:;§RN|CE B. D§NALD

UN|TED STATES D|STR|CT JUDGE

 
 
 

` '~ dccument entered on the docket she '
- 55 andlor 32[b) FF\GrP on

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
case 2:04-CR-20048 Was distributed by faX, mail, or direct printing on
July 28, 2005 to the parties listed.

ENNESSEE

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

